 

 

Case 1:16-cr-OO436-K|\/|W Document 138 Filed 12/15/17 Page 1 of 5

SOUTHERN DISTRICT OF NEW YORK

 

 

 

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UNITED STATES OF Al\/IERICA,
v. : 16 CR. 436 (Kl\/IW)
: AFFIRMATION IN SUPPORT
STEVEN BROWN, : OF MOTION T 0 REVIEW
' GRAND JURY MINUTES
Defendants.
______________________________________________________ X

WALTER l\/IACK, an attorney duly licensed to practice law before the courts of the State
of New York and this court, under the penalties of perjury, affirms as follows:

l. l represent Defendant Steven Brown and l submit this affirmation in
support of the Motion to AlloW Defense Counsel to Review the Grand Jury Minutes or,
Altematively, for an I__n Cln_era lnspection.

2. Attached as EXhibit A is a copy of the press release, dated June 28, 2016,
issued by former U.S. Attorney for the Southern District of New York, Preet Bharara.

3, A Google search conducted today of “Steven Brown movies” turns up the

Bharara press release on the first page of results

Dated: New York, NeW York
December 15, 2017

/s/
Walter l\/lack, Esq.
Doar Rieck DeVita Kaley & Mack
217 Broadway, Suite 707
New Yorl<, NeW York 10007
212-619-373()
Attorneyfor Defendant Steven Brown

106553

 

 

 

Case 1:16-cr-OO436-K|\/|W Document 138 Filed 12/15/17 Page 2 of 5

EXHIBIT A

 

 

 

 

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U.S. Attornevs » Southern District of New York » News » Press Re|eases

Department of Justice
U.S. Attorney’s Office

Southem District of New York

FOR ll\/|I\/|ED|ATE RELEASE Tuesday, June 28, 2016

Manhattan U.S. Attorney Charges Three Defendants With
Participating In Multimillion-Dollar F rand On Film
Investors

Preet Bharara, the United States Attorney for the Southern District of New York, and Diego
Rodriguez, the Assistant Director-in-Charge of the New York Office of the Federa| Bureau of
investigation (“FB|”), announced today the unsealing of charges against JAi\/lES DA\/lD
VVlLLlAi\/lS, STEVEN BROVVN, and GERAl_D SEPPAL/-\ for allegedly defrauding victims out of
more than $12 million as part of an advance fee scheme in which victims were asked to invest in
film projects based on false promises and misrepresentation The indictment charges
V\/ll_LlAl\/lS, BROWN, and SEPPALA with wire fraud and wire fraud conspiracy, and VVlLL|Al\/lS
and BROVVN are also charged with laundering the proceeds of this fraud. Wil_l_lAl\/lS was
arrested this morning in i_os Ange|es, Califomia, and is expected to be presented and arraigned
later today in the Centra| District of Caiifomia before United States Magistrate Judge Jacqueline
Chooljian. BROV\/N was arrested in this morning in New York City and is expected to be
presented and arraigned in the Southem District of t\lew York before United States l\/lagistrate
Judge James L. Cott. SEPPALA was arrested this morning in VVayzata, l\/linnesota, and was
presented and arraigned this afternoon in the District of Minnesota before United States
i\/lagistrate dudge Becky R. Thorson.

l\/lanhattan U.S. Attorney Preet Bharara said: “VVith lies about making feature-length films and
documentaries, the defendants allegedly defrauded victims into investing over $12 million with
them. Rather than making movies, the defendants perpetrated an advance fee scheme,
allegedly using the investors’ money to pay themselves and pay other investors back.”

FBl Assistant Director-in-Charge Diego Rodriguez said: “As alleged, Wiiliams, Brown, and
Seppa|a didn’t provide marketing expertise to feature films or invest their own millions into film
projects as they promised investors Rather, they defrauded and deceived to acquire more than
$12 million of investor funds to pay back previous duped investors or fund personal expenses

https://WWW. j ustice. gov/usao-sdny/pr/manhattan-us-attorney-charges-three-defendants-pa. . . 12/15/2017

 

 

 

 

Manhattan Usasadr:d@rathe@ge@anita/beremittewtttft€tmwis@iiit§/tt§itt$iiilit§aerrln>.t.5 Page 2 Or 3

Any level of fraud to honest investors is wrong, whether it’s a fraud in the hundreds of dollars or
millions dollars.”

According to the indictment unsealed in l\/lanhattan federal court:ll1

From at least 2012 through June 2016, JAl\/iES DA\/lD VVlLi.lAi\/lS7 STE\/EN BROVVN, and
GERALD SEPPALA participated in an advance fee scheme in which Wll_L|Al\/lS and BROWN
portrayed themselves as experts in the marketing of feature-length films and documentaries and,
along with SEPPALA, solicited investments in these films from investors by typically promising
guaranteed returns and participation in profits which never materialized

in order to solicit these investments VViLL|Al\/iS, BROVVN, and SEPPALA made material
misrepresentations about, among other things their own investments in the films for which they
were soliciting money, as well as investments that they claimed to have received from other
investors To support their claims, VVll_LlAi\/lS, BROVVN, and SEPPALA frequently sent the
victims falsified financial records that reflected investments that had never actually been made.
For examp|e, in an effort to secure a $2 million investment in one of the movies from one
individual (“Victim-i”), VVli_LiAl\/|S assured Victim~t that V\/iLl_|/\i\/lS himself had also contributed
$2 million of his own money to the project As proof of VVlLL|Al\/iS’s purported investment7
V\/|LLlAi\/lS sent Victim-t what appeared to be a bank statement showing a balance ofjust over
$1,9 million in the account maintained for the movie, which represented, according to VV|LL|Al\/lS,
what was left of his $2 mii|ion after some initial expenditures True and accurate records for that
account, however, show that on the date Wli_l_|Al\/|S sent that statement to Victim-i, there was
actually no money in the account and, indeed, there was never any money in that account until
Victim-i provided the solicited $2 million investment

Similar|y, in an effort to get another individual (“\/ictim-Z”) to invest $500,000 in another movie,
WlLLlAi\/|S represented that VVli_LlAl\/lS had invested $3 million of his own money, while BROV\/N
claimed to have invested an additional $500,000 of his own money as wel|. BROVVN and
W|l_L|Al\/iS also told \/ictim-2 that the entire investment would be guaranteed by a company
called “Woodlawn l~lo|dings" (“V\/ood|awn”). |n support of these claims BROWN sent Victim-2’s
attorney a letter from someone who claimed to be a “i\/lanaging l\/lember” (“lndividual»t”) at
Woodlawn guaranteeing Vicitm-Z’s investment while VVll_LlAl\/iS sent what appeared to be a
bank statement for the company responsible for producing the movie7 showing a balance of more
than $3.5 million. Subsequent investigation, however, revealed that no one with lndividual-t’s
name worked at Woodlawn, nor had representatives at Woodlawn heard of W|LLlAl\/lS, BROVVN,
SEPPLA, or the movie they claimed to be making in addition, true and accurate records from
the relevant bank account revealed that there was only $500,200 in the account at the time that
VV|l_LlAl\/lS sent Victim-2 the statement showing a balance of more than $3.5 million.
Furthermore, the other money in that bank account was from neither VV|i_LlAi\/lS nor BROV\/N.

in total, V\/il_i_lAl\/lS, BROVVN, and SEPPALA solicited more than 312 million from their victims
that was allegedly to be used for either marketing or production costs associated with the various
films ln reality, however, the money that was received from these investors was used to fund
other projects pay back previously defrauded investors or pay the personal expenses of
VVil_i_|/-\l\/lS, BROVVN, and SEPPALA, inciuding, among other things the purchase of a car and a
house for VVlLL|Ai\/lS.

https:// WWW. j ustice. gov/usao-sdny/pr/manhattan-us-attorney-charges-three-defendants-pa. ., 12/15/2017

 

 

 

 

 

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Wll_l_|Al\/lS, 54, of Calabasas, California, and BROWN, 46, of Santa l\/ionica, California, are each
charged with one count of conspiring to commit wire fraud, one count of wire fraud, and one
count of conspiring to commit money laundering SEPPALA, 47, of VVayzata, i\/linnesota, is
charged with one count of conspiring to commit wire fraud and one count of wire fraud
Conspiring to commit wire fraud and wire fraud each carry a maximum term of 20 years in
prison. Conspiring to commit money laundering carries a maximum term of 10 years in prison.

The maximum potential sentences in this case are prescribed by Congress and are provided here
for informational purposes only, as any sentencing of the defendants will be determined by the
judge.

l\/lr. Bharara praised the outstanding investigative work of the Federa| Bureau of investigation

if you believe you are a victim of the above~described fraud, please call the FB| at 212-384-1000
or email fi|mfinancefraud@ic.fbi.dov. This email account is taking tips only on these alleged
crimes

 

The prosecution of this case is being handled by the Office’s Comp|ex Frauds and Cybercrime
Unit. Assistant United States Attorney Patrick Egan is in charge of the prosecution

The charges contained in the indictment are merely accusations and the defendants are
presumed innocent unless and until proven guilty.

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L1_] As the introductory phrase signifies the entirety of the text of the indictment and the
description of the indictment set forth herein constitute only allegations and every fact described
should be treated as an allegation.

 

Topic(s):
Financiai Fraud

Component(s):
USAO - New Yorki Southern

Press Re|ease Number:
16-176

Updated .lune 28, 2016

https://WWW.justice.gov/usao-sdny/pr/manhattan-us-attorney-cbarges-three-defendants-pa. .. 12/15/2017

 

 

